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January 23, 2025                                                 Orrick, Herrington & Sutcliffe LLP
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Via ECF
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Clifton Cislak                                                   orrick.com

Clerk of Court
U.S. Court of Appeals for the D.C. Circuit
                                                                 Robert Loeb
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      Re: City of Port Isabel v. FERC, Nos. 23-1174, 23-1221
      Rule 28(j) Letter

Dear Mr. Cislak:

     Intervenor Rio Grande LNG, LLC files this letter under F.R.A.P. 28(j), to
submit Executive Order Ending Illegal Discrimination and Restoring Merit-Based
Opportunity (Jan. 21, 2025) (“January 21 EO”), and Executive Order Unleashing
American Energy (Jan. 20, 2025) (“January 20 EO”), as supplemental authority.

       Section 3 of the January 21 EO revokes Executive Order 12,898, the
purported authority cited by the panel for vacating the Rio Grande project’s
authorization and requiring FERC to conduct a more thorough environmental-
justice analysis. See Op. 10-11; Rio Grande PFREB. 13-15. This Court has already
held that Council on Environmental Quality regulations implementing the
requirements of Executive Order 12,898 are themselves unenforceable. Marin
Audubon Soc’y v. Fed. Aviation Admin., 121 F.4th 902, 909 (D.C. Cir. 2024); see
Joint Reply ISO PFREB 8-10. Following the January 21 EO, it is now clear that all
of the claimed errors cited by the panel here as the basis for vacatur are based on
authorities that are now without force. As a result, they cannot be a proper basis
for vacating FERC’s authorization of the Rio Grande project and requiring a
supplemental EIS based on purported deficiencies in an environmental justice
analysis. In addition, under Section 6 of the January 20 EO, agencies are not
permitted to apply additional requirements beyond those provided for directly in the
statute. Other nonstatutory requirements, such as environmental justice review,
are “eliminated” from consideration.

       This Court should therefore withdraw the panel decision and deny the
petition for review. At a minimum, the Court should vacate the panel opinion and
order supplemental briefing on the effect of these recent developments.
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                                    Respectfully,

                                    /s/ Robert M. Loeb
                                    Robert M. Loeb


cc: Counsel of Record (via ECF)
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                EXHIBIT A
1/23/25, 11:03 AM                               Ending Illegal Discrimination And Restoring Merit-Based Opportunity – The White House
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                                                              Presidential Actions
                                        ENDING ILLEGAL DISCRIMINATION AND
                                       RESTORING MERIT-BASED OPPORTUNITY
                                                  January 21, 2025



  By the authority vested in me as President by the Constitution and the laws of the
  United States of America, it is hereby ordered:

  Section 1. Purpose. Longstanding Federal civil-rights laws protect individual
  Americans from discrimination based on race, color, religion, sex, or national origin.
  These civil-rights protections serve as a bedrock supporting equality of opportunity for
  all Americans. As President, I have a solemn duty to ensure that these laws are
  enforced for the benefit of all Americans.

  Yet today, roughly 60 years after the passage of the Civil Rights Act of 1964, critical
  and influential institutions of American society, including the Federal Government,
  major corporations, financial institutions, the medical industry, large commercial
  airlines, law enforcement agencies, and institutions of higher education have adopted
  and actively use dangerous, demeaning, and immoral race- and sex-based
  preferences under the guise of so-called “diversity, equity, and inclusion” (DEI) or
  “diversity, equity, inclusion, and accessibility” (DEIA) that can violate the civil-rights
  laws of this Nation.

  Illegal DEI and DEIA policies not only violate the text and spirit of our longstanding
  Federal civil-rights laws, they also undermine our national unity, as they deny,
  discredit, and undermine the traditional American values of hard work, excellence,
  and individual achievement in favor of an unlawful, corrosive, and pernicious identity-
  based spoils system. Hardworking Americans who deserve a shot at the American
  Dream should not be stigmatized, demeaned, or shut out of opportunities because of
  their race or sex.

  These illegal DEI and DEIA policies also threaten the safety of American men,
  women, and children across the Nation by diminishing the importance of individual
  merit, aptitude, hard work, and determination when selecting people for jobs and
  services in key sectors of American society, including all levels of government, and
  the medical, aviation, and law-enforcement communities. Yet in case after tragic
  case, the American people have witnessed first-hand the disastrous consequences of
  illegal, pernicious discrimination that has prioritized how people were born instead of
  what they were capable of doing.


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  The Federal Government is Document
             USCA Case #23-1174         #2096093
                                charged with            Filed: 01/23/2025
                                              enforcing our                  Page 5 of 17
                                                             civil-rights laws. The
  purpose of this order is to ensure that it does so by ending illegal preferences
  and discrimination.

  Sec. 2. Policy. It is the policy of the United States to protect the civil rights of all
  Americans and to promote individual initiative, excellence, and hard work. I therefore
  order all executive departments and agencies (agencies) to terminate all
  discriminatory and illegal preferences, mandates, policies, programs, activities,
  guidance, regulations, enforcement actions, consent orders, and requirements. I
  further order all agencies to enforce our longstanding civil-rights laws and to combat
  illegal private-sector DEI preferences, mandates, policies, programs, and activities.

  Sec. 3. Terminating Illegal Discrimination in the Federal Government. (a) The
  following executive actions are hereby revoked:
  (i) Executive Order 12898 of February 11, 1994 (Federal Actions to Address
  Environmental Justice in Minority Populations and Low-Income Populations);
  (ii) Executive Order 13583 of August 18, 2011 (Establishing a Coordinated
  Government-wide Initiative to Promote Diversity and Inclusion in the
  Federal Workforce);
  (iii) Executive Order 13672 of July 21, 2014 (Further Amendments to Executive Order
  11478, Equal Employment Opportunity in the Federal Government, and Executive
  Order 11246, Equal Employment Opportunity); and
  (iv) The Presidential Memorandum of October 5, 2016 (Promoting Diversity and
  Inclusion in the National Security Workforce).
  (b) The Federal contracting process shall be streamlined to enhance speed and
  efficiency, reduce costs, and require Federal contractors and subcontractors to
  comply with our civil-rights laws. Accordingly:
  (i) Executive Order 11246 of September 24, 1965 (Equal Employment Opportunity),
  is hereby revoked. For 90 days from the date of this order, Federal contractors may
  continue to comply with the regulatory scheme in effect on January 20, 2025.
  (ii) The Office of Federal Contract Compliance Programs within the Department of
  Labor shall immediately cease:
  (A) Promoting “diversity”;
  (B) Holding Federal contractors and subcontractors responsible for taking “affirmative
  action”; and
  (C) Allowing or encouraging Federal contractors and subcontractors to engage
  in workforce balancing based on race, color, sex, sexual preference, religion, or
  national origin.
  (iii) In accordance with Executive Order 13279 of December 12, 2002 (Equal
  Protection of the Laws for Faith-Based and Community Organizations), the
  employment, procurement, and contracting practices of Federal contractors and
  subcontractors shall not consider race, color, sex, sexual preference, religion, or
  national origin in ways that violate the Nation’s civil rights laws.

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  (iv) The head of each agency       shall include in everyFiled: 01/23/2025
                                                             contract  or grant Page 6 of 17
                                                                                award:
  (A) A term requiring the contractual counterparty or grant recipient to agree that its
  compliance in all respects with all applicable Federal anti-discrimination laws is
  material to the government’s payment decisions for purposes of section 3729(b)(4) of
  title 31, United States Code; and
  (B) A term requiring such counterparty or recipient to certify that it does not
  operate any programs promoting DEI that violate any applicable Federal anti-
  discrimination laws.
  (c) The Director of the Office of Management and Budget (OMB), with the assistance
  of the Attorney General as requested, shall:
  (i) Review and revise, as appropriate, all Government-wide processes, directives,
  and guidance;
  (ii) Excise references to DEI and DEIA principles, under whatever name they may
  appear, from Federal acquisition, contracting, grants, and financial assistance
  procedures to streamline those procedures, improve speed and efficiency, lower
  costs, and comply with civil-rights laws; and
  (iii) Terminate all “diversity,” “equity,” “equitable decision-making,” “equitable
  deployment of financial and technical assistance,” “advancing equity,” and like
  mandates, requirements, programs, or activities, as appropriate.

  Sec. 4. Encouraging the Private Sector to End Illegal DEI Discrimination and
  Preferences. (a) The heads of all agencies, with the assistance of the Attorney
  General, shall take all appropriate action with respect to the operations of their
  agencies to advance in the private sector the policy of individual initiative, excellence,
  and hard work identified in section 2 of this order.
  (b) To further inform and advise me so that my Administration may formulate
  appropriate and effective civil-rights policy, the Attorney General, within 120 days of
  this order, in consultation with the heads of relevant agencies and in coordination with
  the Director of OMB, shall submit a report to the Assistant to the President for
  Domestic Policy containing recommendations for enforcing Federal civil-rights laws
  and taking other appropriate measures to encourage the private sector to end illegal
  discrimination and preferences, including DEI. The report shall contain a proposed
  strategic enforcement plan identifying:
  (i) Key sectors of concern within each agency’s jurisdiction;
  (ii) The most egregious and discriminatory DEI practitioners in each sector
  of concern;
  (iii) A plan of specific steps or measures to deter DEI programs or principles (whether
  specifically denominated “DEI” or otherwise) that constitute illegal discrimination or
  preferences. As a part of this plan, each agency shall identify up to nine potential civil
  compliance investigations of publicly traded corporations, large non-profit
  corporations or associations, foundations with assets of 500 million dollars or more,
  State and local bar and medical associations, and institutions of higher education with
  endowments over 1 billion dollars;

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  (iv) Other strategies to encourage  the private sector  to end illegal DEI discrimination
  and preferences and comply with all Federal civil-rights laws;
  (v) Litigation that would be potentially appropriate for Federal lawsuits, intervention,
  or statements of interest; and
  (vi) Potential regulatory action and sub-regulatory guidance.

  Sec. 5. Other Actions. Within 120 days of this order, the Attorney General and the
  Secretary of Education shall jointly issue guidance to all State and local educational
  agencies that receive Federal funds, as well as all institutions of higher education that
  receive Federal grants or participate in the Federal student loan assistance program
  under Title IV of the Higher Education Act, 20 U.S.C. 1070 et seq., regarding the
  measures and practices required to comply with Students for Fair Admissions, Inc. v.
  President and Fellows of Harvard College, 600 U.S. 181 (2023).

  Sec. 6. Severability. If any provision of this order, or the application of any provision
  to any person or circumstance, is held to be invalid, the remainder of this order and
  the application of its provisions to any other persons or circumstances shall not be
  affected thereby.

  Sec. 7. Scope. (a) This order does not apply to lawful Federal or private-sector
  employment and contracting preferences for veterans of the U.S. armed forces or
  persons protected by the Randolph-Sheppard Act, 20 U.S.C. 107 et seq.
  (b) This order does not prevent State or local governments, Federal contractors, or
  Federally-funded State and local educational agencies or institutions of higher
  education from engaging in First Amendment-protected speech.
  (c) This order does not prohibit persons teaching at a Federally funded institution of
  higher education as part of a larger course of academic instruction from advocating
  for, endorsing, or promoting the unlawful employment or contracting practices
  prohibited by this order.

  Sec. 8. General Provisions. (a) Nothing in this order shall be construed to impair or
  otherwise affect:
  (i) the authority granted by law to an executive department, agency, or the head
  thereof; or
  (ii) the functions of the Director of the Office of Management and Budget relating to
  budgetary, administrative, or legislative proposals.
  (b) This order shall be implemented consistent with applicable law and subject to the
  availability of appropriations.
  (c) This order is not intended to and does not create any right or benefit, substantive
  or procedural, enforceable at law or in equity by any party against the United States,
  its departments, agencies, or entities, its officers, employees, or agents, or any
  other person.


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  THE WHITE HOUSE,
  January 21, 2025.




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                EXHIBIT B
1/23/25, 11:11 AM                                                Unleashing American Energy – The White House
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                                                            Presidential Actions
                                             UNLEASHING AMERICAN ENERGY
                                                  EXECUTIVE ORDER
                                                    January 20, 2025



  By the authority vested in me as President by the Constitution and the laws of the
  United States of America, it is hereby ordered:
  Section 1. Background. America is blessed with an abundance of energy and natural
  resources that have historically powered our Nation’s economic prosperity. In recent
  years, burdensome and ideologically motivated regulations have impeded the
  development of these resources, limited the generation of reliable and affordable
  electricity, reduced job creation, and inflicted high energy costs upon our citizens.
   These high energy costs devastate American consumers by driving up the cost of
  transportation, heating, utilities, farming, and manufacturing, while weakening our
  national security.
  It is thus in the national interest to unleash America’s affordable and reliable energy
  and natural resources. This will restore American prosperity —- including for those
  men and women who have been forgotten by our economy in recent years. It will
  also rebuild our Nation’s economic and military security, which will deliver peace
  through strength.
  Sec. 2. Policy. It is the policy of the United States:
  (a) to encourage energy exploration and production on Federal lands and waters,
  including on the Outer Continental Shelf, in order to meet the needs of our citizens
  and solidify the United States as a global energy leader long into the future;
  (b) to establish our position as the leading producer and processor of non-fuel
  minerals, including rare earth minerals, which will create jobs and prosperity at home,
  strengthen supply chains for the United States and its allies, and reduce the global
  influence of malign and adversarial states;
  (c) to protect the United States’s economic and national security and military
  preparedness by ensuring that an abundant supply of reliable energy is readily
  accessible in every State and territory of the Nation;
  (d) to ensure that all regulatory requirements related to energy are grounded in
  clearly applicable law;
  (e) to eliminate the “electric vehicle (EV) mandate” and promote true consumer
  choice, which is essential for economic growth and innovation, by removing regulatory
  barriers to motor vehicle access; by ensuring a level regulatory playing field for
  consumer choice in vehicles; by terminating, where appropriate, state emissions
  waivers that function to limit sales of gasoline-powered automobiles; and by
  considering the elimination of unfair subsidies and other ill-conceived government-
  imposed market distortions that favor EVs over other technologies and effectively

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  mandate their purchase by individuals, private businesses,      and government   entities
  alike by rendering other types of vehicles unaffordable;
  (f) to safeguard the American people’s freedom to choose from a variety of goods
  and appliances, including but not limited to lightbulbs, dishwashers, washing
  machines, gas stoves, water heaters, toilets, and shower heads, and to promote
  market competition and innovation within the manufacturing and appliance industries;
  (g) to ensure that the global effects of a rule, regulation, or action shall, whenever
  evaluated, be reported separately from its domestic costs and benefits, in order
  to promote sound regulatory decision making and prioritize the interests of the
  American people;
  (h) to guarantee that all executive departments and agencies (agencies) provide
  opportunity for public comment and rigorous, peer-reviewed scientific analysis; and
  (i) to ensure that no Federal funding be employed in a manner contrary to the
  principles outlined in this section, unless required by law.
  Sec. 3. Immediate Review of All Agency Actions that Potentially Burden the
  Development of Domestic Energy Resources. (a) The heads of all agencies shall
  review all existing regulations, orders, guidance documents, policies, settlements,
  consent orders, and any other agency actions (collectively, agency actions) to identify
  those agency actions that impose an undue burden on the identification,
  development, or use of domestic energy resources — with particular attention to oil,
  natural gas, coal, hydropower, biofuels, critical mineral, and nuclear energy resources
  — or that are otherwise inconsistent with the policy set forth in section 2 of this order,
  including restrictions on consumer choice of vehicles and appliances.
  (b) Within 30 days of the date of this order, the head of each agency shall, in
  consultation with the director of the Office of Management and Budget (OMB) and the
  National Economic Council (NEC), develop and begin implementing action plans to
  suspend, revise, or rescind all agency actions identified as unduly burdensome under
  subsection (a) of this section, as expeditiously as possible and consistent with
  applicable law. The head of any agency who determines that such agency does not
  have agency actions described in subsection (a) of this section shall submit to the
  Director of OMB a written statement to that effect and, absent a determination by the
  Director of OMB that such agency does have agency actions described in this
  subsection, shall have no further responsibilities under this section.
  (c) Agencies shall promptly notify the Attorney General of any steps taken pursuant to
  subsection (a) of this section so that the Attorney General may, as appropriate:
  (i) provide notice of this Executive Order and any such actions to any court with
  jurisdiction over pending litigation in which such actions may be relevant; and
  (ii) request that such court stay or otherwise delay further litigation, or seek other
  appropriate relief consistent with this order, pending the completion of the
  administrative actions described in this order.
  (d) Pursuant to the policy outlined in section 2 of this order, the Attorney General
  shall consider whether pending litigation against illegal, dangerous, or harmful policies
  should be resolved through stays or other relief.

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  Sec. 4. Revocation of and Revisions to Certain Presidential      and Regulatory
  Actions. (a) The following are revoked and any offices established therein
  are abolished:
  (i) Executive Order 13990 of January 20, 2021 (Protecting Public Health and the
  Environment and Restoring Science to Tackle the Climate Crisis);
  (ii) Executive Order 13992 of January 20, 2021 (Revocation of Certain Executive
  Orders Concerning Federal Regulation);
  (iii) Executive Order 14008 of January 27, 2021 (Tackling the Climate Crisis at Home
  and Abroad);
  (iv) Executive Order 14007 of January 27, 2021 (President’s Council of Advisors on
  Science and Technology);
  (v) Executive Order 14013 of February 4, 2021 (Rebuilding and Enhancing
  Programs to Resettle Refugees and Planning for the Impact of Climate Change
  on Migration);
  (vi) Executive Order 14027 of May 7, 2021 (Establishment of the Climate Change
  Support Office);
  (vii) Executive Order 14030 of May 20, 2021 (Climate-Related Financial Risk);
  (viii) Executive Order 14037 of August 5, 2021 (Strengthening American Leadership
  in Clean Cars and Trucks);
  (ix) Executive Order 14057 of December 8, 2021 (Catalyzing Clean Energy
  Industries and Jobs Through Federal Sustainability);
  (x) Executive Order 14072 of April 22, 2022 (Strengthening the Nation’s Forests,
  Communities, and Local Economies);
  (xi) Executive Order 14082 of September 12, 2022 (Implementation of the Energy
  and Infrastructure Provisions of the Inflation Reduction Act of 2022); and
  (xii) Executive Order 14096 of April 21, 2023 (Revitalizing Our Nation’s Commitment
  to Environmental Justice for All).
  (b) All activities, programs, and operations associated with the American Climate
  Corps, including actions taken by any agency shall be terminated immediately. Within
  one day of the date of this order, the Secretary of the Interior shall submit a letter to
  all parties to the “American Climate Corps Memorandum of Understanding” dated
  December 2023 to terminate the memorandum, and the head of each party to the
  memorandum shall agree to the termination in writing.
  (c) Any assets, funds, or resources allocated to an entity or program abolished by
  subsection (a) of this section shall be redirected or disposed of in accordance with
  applicable law.
  (d) The head of any agency that has taken action respecting offices and programs in
  subsection (a) shall take all necessary steps to ensure that all such actions are
  terminated or, if necessary, appropriate, or required by law, that such activities are
  transitioned to other agencies or entities.
  (e) Any contract or agreement between the United States and any third party on
  behalf of the entities or programs abolished in subsection (a) of this section, or in


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  furtherance of them, shall be terminated for convenience,      or otherwise,  as quickly as
  permissible under the law.
  Sec. 5. Unleashing Energy Dominance through Efficient Permitting. (a) Executive
  Order 11991 of May 24, 1977 (Relating to protection and enhancement of
  environmental quality) is hereby revoked.
  (b) To expedite and simplify the permitting process, within 30 days of the date of this
  order, the Chairman of the Council on Environmental Quality (CEQ) shall provide
  guidance on implementing the National Environmental Policy Act (NEPA), 42 U.S.C.
  4321 et seq., and propose rescinding CEQ’s NEPA regulations found at 40 CFR
  1500 et seq.
  (c) Following the provision of the guidance, the Chairman of CEQ shall convene a
  working group to coordinate the revision of agency-level implementing regulations for
  consistency. The guidance in subsection (b) and any resulting implementing
  regulations must expedite permitting approvals and meet deadlines established in the
  Fiscal Responsibility Act of 2023 (Public Law 118-5). Consistent with applicable law,
  all agencies must prioritize efficiency and certainty over any other objectives,
  including those of activist groups, that do not align with the policy goals set forth in
  section 2 of this order or that could otherwise add delays and ambiguity to the
  permitting process.
  (d) The Secretaries of Defense, Interior, Agriculture, Commerce, Housing and Urban
  Development, Transportation, Energy, Homeland Security, the Administrator of the
  Environmental Protection Agency (EPA), the Chairman of CEQ, and the heads of any
  other relevant agencies shall undertake all available efforts to eliminate all delays
  within their respective permitting processes, including through, but not limited to, the
  use of general permitting and permit by rule. For any project an agency head deems
  essential for the Nation’s economy or national security, agencies shall use all possible
  authorities, including emergency authorities, to expedite the adjudication of Federal
  permits. Agencies shall work closely with project sponsors to realize the ultimate
  construction or development of permitted projects.
  (e) The Director of the NEC and the Director of the Office of Legislative Affairs shall
  jointly prepare recommendations to Congress, which shall:
  (i) facilitate the permitting and construction of interstate energy transportation and
  other critical energy infrastructure, including, but not limited to, pipelines, particularly
  in regions of the Nation that have lacked such development in recent years; and
  (ii) provide greater certainty in the Federal permitting process, including, but not
  limited to, streamlining the judicial review of the application of NEPA.
  Sec. 6. Prioritizing Accuracy in Environmental Analyses. (a) In all Federal permitting
  adjudications or regulatory processes, all agencies shall adhere to only the relevant
  legislated requirements for environmental considerations and any considerations
  beyond these requirements are eliminated. In fulfilling all such requirements,
  agencies shall strictly use the most robust methodologies of assessment at their
  disposal and shall not use methodologies that are arbitrary or ideologically motivated.


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  (b) The Interagency Working Group on the Social Cost        of GreenhousePage  14 of 17
                                                                              Gases  (IWG),
  which was established pursuant to Executive Order 13990, is hereby disbanded, and
  any guidance, instruction, recommendation, or document issued by the IWG is
  withdrawn as no longer representative of governmental policy including:
  (i) the Presidential Memorandum of January 27, 2021 (Restoring Trust in
  Government Through Scientific Integrity and Evidence-Based Policymaking);
  (ii) the Report of the Greenhouse Gas Monitoring and Measurement Interagency
  Working Group of November 2023 (National Strategy to Advance an Integrated U.S.
  Greenhouse Gas Measurement, Monitoring, and Information System);
  (iii) the Technical Support Document of February 2021 (Social Cost of Carbon,
  Methane, and Nitrous Oxide Interim Estimates under Executive Order 13990); and
  (iv) estimates of the social cost of greenhouse gases, including the estimates for the
  social cost of carbon, the social cost of methane, or the social cost of nitrous oxide
  based, in whole or in part, on the IWG’s work or guidance.
  (c) The calculation of the “social cost of carbon” is marked by logical deficiencies, a
  poor basis in empirical science, politicization, and the absence of a foundation in
  legislation. Its abuse arbitrarily slows regulatory decisions and, by rendering the
  United States economy internationally uncompetitive, encourages a greater human
  impact on the environment by affording less efficient foreign energy producers a
  greater share of the global energy and natural resource market. Consequently, within
  60 days of the date of this order, the Administrator of the EPA shall issue guidance to
  address these harmful and detrimental inadequacies, including consideration of
  eliminating the “social cost of carbon” calculation from any Federal permitting or
  regulatory decision.
  (d) Prior to the guidance issued pursuant to subsection (c) of this section, agencies
  shall ensure estimates to assess the value of changes in greenhouse gas emissions
  resulting from agency actions, including with respect to the consideration of domestic
  versus international effects and evaluating appropriate discount rates, are, to the
  extent permitted by law, consistent with the guidance contained in OMB Circular A-4
  of September 17, 2003 (Regulatory Analysis).
  (e) Furthermore, the head of each agency shall, as appropriate and consistent with
  applicable law, initiate a process to make such changes to any rule, regulation, policy
  or action as may be necessary to ensure consistency with the Regulatory Analysis.
  (f) Within 30 days of the date of this order, the Administrator of the EPA, in
  collaboration with the heads of any other relevant agencies, shall submit joint
  recommendations to the Director of OMB on the legality and continuing applicability of
  the Administrator’s findings, “Endangerment and Cause or Contribute Findings for
  Greenhouse Gases Under Section 202(a) of the Clean Air Act,” Final Rule, 74 FR
  66496 (December 15, 2009).
  Sec. 7. Terminating the Green New Deal. (a) All agencies shall immediately pause
  the disbursement of funds appropriated through the Inflation Reduction Act of 2022
  (Public Law 117-169) or the Infrastructure Investment and Jobs Act (Public Law 117-
  58), including but not limited to funds for electric vehicle charging stations made

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  available through the National Electric Vehicle Infrastructure     Formula Page 15 of 17
                                                                             Program    and
  the Charging and Fueling Infrastructure Discretionary Grant Program, and shall
  review their processes, policies, and programs for issuing grants, loans, contracts, or
  any other financial disbursements of such appropriated funds for consistency with the
  law and the policy outlined in section 2 of this order. Within 90 days of the date of this
  order, all agency heads shall submit a report to the Director of the NEC and Director
  of OMB that details the findings of this review, including recommendations to enhance
  their alignment with the policy set forth in section 2. No funds identified in this
  subsection (a) shall be disbursed by a given agency until the Director of OMB
  and Assistant to the President for Economic Policy have determined that such
  disbursements are consistent with any review recommendations they have chosen
  to adopt.
  (b) When procuring goods and services, making decisions about leases, and making
  other arrangements that result in disbursements of Federal funds, agencies shall
  prioritize cost-effectiveness, American workers and businesses, and the sensible use
  of taxpayer money, to the greatest extent. The Director of OMB shall finalize and
  circulate guidelines to further implement this subsection.
  (c) All agencies shall assess whether enforcement discretion of authorities and
  regulations can be utilized to advance the policy outlined in section 2 of this order.
   Within 30 days of the date of this order, each agency shall submit a report to the
  Director of OMB identifying any such instances.
  Sec. 8. Protecting America’s National Security.(a) The Secretary of Energy is directed
  restart reviews of applications for approvals of liquified natural gas export projects as
  expeditiously as possible, consistent with applicable law. In assessing the “Public
  Interest” to be advanced by any particular application, the Secretary of Energy shall
  consider the economic and employment impacts to the United States and the impact
  to the security of allies and partners that would result from granting the application.
  (b) With respect to any proposed deepwater port for the export of liquefied natural
  gas (project) for which a favorable record of decision (ROD) has previously been
  issued pursuant to the Deepwater Port Act of 1974 (DWPA), 33 U.S.C. 1501 et seq.,
  the Administrator of the Maritime Administration (MARAD) shall, within 30 days of the
  date of this order and consistent with applicable law, determine whether any
  refinements to the project proposed subsequent to the ROD are likely to result in
  adverse environmental consequences that substantially differ from those associated
  with the originally-evaluated project so as to present a seriously different picture of the
  foreseeable adverse environmental consequences (seriously different consequences).
   In making this determination, MARAD shall qualitatively assess any difference in
  adverse environmental consequences between the project with and without the
  proposed refinements, including any potential consequences not addressed in the
  final Environmental Impact Statement (EIS), which shall be considered adequate
  under NEPA notwithstanding any revisions to NEPA that may have been enacted
  following the final EIS. MARAD shall submit this determination, together with a
  detailed justification, to the Secretary of Transportation and to the President.

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  (c) Pursuant to subsection (b) of this section, if MARAD       determines that such
  refinements are not likely to result in seriously different consequences, it shall include
  in that determination a description of the refinements to supplement and update
  the ROD, if necessary and then no later than 30 additional days, he shall issue a
  DWPA license.
  (d) If MARAD determines, with concurrence from the Secretary of Transportation, that
  such proposed refinements are likely to result in seriously different consequences, it
  shall, within 60 days after submitting such determination, issue an Environmental
  Assessment (EA) examining such consequences and, with respect to all other
  environmental consequences not changed due to project refinements, shall reaffirm
  the conclusions of the final EIS. Within 30 days after issuing the EA, MARAD shall
  issue an addendum to the ROD, if necessary, and shall, within 30 additional days,
  issue a DWPA license consistent with the ROD.
  Sec. 9. Restoring America’s Mineral Dominance. (a) The Secretary of the Interior,
  Secretary of Agriculture, Administrator of the EPA, Chairman of CEQ, and the heads
  of any other relevant agencies, as appropriate, shall identify all agency actions that
  impose undue burdens on the domestic mining and processing of non-fuel minerals
  and undertake steps to revise or rescind such actions.
  (b) The Secretaries of the Interior and Agriculture shall reassess any public lands
  withdrawals for potential revision.
  (c) The Secretary of the Interior shall instruct the Director of the U.S. Geological
  Survey to consider updating the Survey’s list of critical minerals, including for the
  potential of including uranium.
  (d) The Secretary of the Interior shall prioritize efforts to accelerate the ongoing,
  detailed geologic mapping of the United States, with a focus on locating previously
  unknown deposits of critical minerals.
  (e) The Secretary of Energy shall ensure that critical mineral projects, including the
  processing of critical minerals, receive consideration for Federal support, contingent
  on the availability of appropriated funds.
  (f) The United States Trade Representative shall assess whether exploitative
  practices and state-assisted mineral projects abroad are unlawful or unduly burden or
  restrict United States commerce.
  (g) The Secretary of Commerce shall assess the national security implications of the
  Nation’s mineral reliance and the potential for trade action.
  (h) The Secretary of Homeland Security shall assess the quantity and inflow of
  minerals that are likely the product of forced labor into the United States and whether
  such inflows pose a threat to national security and, within 90 days of the date of this
  order, shall provide this assessment to the Director of the NEC.
  (i) The Secretary of Defense shall consider the needs of the United States in
  supplying and maintaining the National Defense Stockpile, review the legal authorities
  and obligations in managing the National Defense Stockpile, and take all appropriate
  steps to ensure that the National Defense Stockpile will provide a robust supply of
  critical minerals in event of future shortfall.

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  (j) Within 60 days of the date of this order, the Secretary    of State, Secretary of
  Commerce, Secretary of Labor, the United States Trade Representative, and the
  heads of any other relevant agencies, shall submit a report to the Assistant to the
  President for Economic Policy that includes policy recommendations to enhance
  the competitiveness of American mining and refining companies in other mineral-
  wealthy nations.
  (k) The Secretary of State shall consider opportunities to advance the mining
  and processing of minerals within the United States through the Quadrilateral
  Security Dialogue.
  Sec. 10. General Provisions. (a) Nothing in this order shall be construed to impair or
  otherwise affect:
  (i) the authority granted by law to an executive department or agency, or the head
  thereof; or
  (ii) the functions of the Director of OMB relating to budgetary, administrative, or
  legislative proposals.
  (b) This order shall be implemented in a manner consistent with applicable law and
  subject to the availability of appropriations.
  (c) This order is not intended to, and does not, create any right or benefit, substantive
  or procedural, enforceable at law or in equity by any party against the United States,
  its departments, agencies, or entities, its officers, employees, or agents, or any
  other person.
  THE WHITE HOUSE,
      January 20, 2025.




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